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UNI'I`ED STATES DISTRICT COURT
EASTERN DISTRICT OF ARKANSAS

 

Jennifer Mayvveather,

: CivilAction No.: 4:12-cv-00674-KGB
Plaintiff, '
v.

Credit Control Company, Inc.', and DOES 1-
10, inclusive,

Defendants.

 

STIPULATION OF DISMISSAL

WHEREAS, the parties to the above-entitled action have resolved the issues alleged in
the complaint in this action, and have negotiated in good faith for that purpose; and

WHEREAS, none of the parties to the above-captioned action is an infant or incompetent
person; and

WHEREAS, the parties in the above-captioned action wish to discontinue the litigation;

lT IS HEREBY STIPULATED AND AGREED by and between the parties andfor their
respective counsel as follows that, pursuant to FRCP 41(a)(1)(A)(ii), the above-captioned action

is hereby discontinued against Credit Control Company, Inc. with prejudice and without costs to

 

 

any patty.
Jennifer Mayvveather Credit Control Company, Inc.
/s/ Sergei Lember;z /s/John W. ank
Sergei Lemberg, Esq. John W. Fink, Esq.
LEMBERG & ASSOCIATES John W. Fink, P.A.
1100 Summer Street, ?>“l F]oor P.O. Box 55126
Starnford, CT 06905 Little Rock, AE ';'2215
(203) 653-2250 (501) 225-2135
Attorney for Plaintiff Attorney for Defendant

W'HM'H.P%JM/ <h.n-S, 2015

SO ORDERED

 

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CERTIFICATE OF SERVICE
l hereby certify that on January 2, 2013, a true and correct copy of the foregoing
Stipulation of Dismissal was served electronically by the U.S. District Court for the Eastern
District of Arl<ansas Electronic Document Filing System (ECF) and that the document is
available on the ECF system.
By /S/ Serget' Lemberg

Sergei Lemberg, Esq.

